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                   IN THE UNITED STATES DISTRICT COURT FOR
                       THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )           CASE NO. 2:05-cr-149-F
                                                )                      (WO)
BUFFY LYNN ROBERSON                             )
KIM CHATHAM                                     )

                                        ORDER

       On November 2, 2005, defendant Roberson filed an Unopposed Motion to Continue

Trial (Doc. #64). While the granting of a continuance is left to the sound discretion of the

trial judge, United States v. Warren, 772 F.2d 827, 837 (11th Cir. 1985), the court is, of

course, limited by the requirements of the Speedy Trial Act, 18 U.S.C. § 3161. The Speedy

Trial Act provides generally that the trial of a defendant in a criminal case shall commence

within 70 days of the latter of the filing date of the indictment or the date the defendant

appeared before a judicial officer in such matter. 18 U.S.C. §3161(c)(1). See United States

v. Vasser, 916 F.2d 624 (11th Cir. 1990).

       The Act excludes from this 70 day period any continuance that the judge grants "on

the basis of his findings that the ends of justice served by taking such action outweigh the

best interest of the public and the defendant in a speedy trial." 18 U.S.C. § 3161(h)(8)(A).

       The motion states that the trial of this case is estimated to take three trial days and may

include 20 or more witnesses. Defendant needs additional time to prepare for trial. Counsel

for the defendant has conferred with counsel for the government and co-defendant Chatham
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and there is no objection to a continuance of the trial date. Consequently, the court concludes

that a continuance of this case is warranted and that the ends of justice served by continuing

this case outweighs the best interest of the public and the defendant in a speedy trial. See

United States v. Davenport, 935 F.2d 1223, 1235 (11th Cir. 1991)(reasonable time necessary

for effective preparation is a significant factor for granting a continuance under the Speedy

Trial Act).

       Accordingly, it is hereby ORDERED:

       1. That the defendant's motion filed on November 2, 2005 is GRANTED;

       2. That the trial of this case is continued from the November 7, 2005 trial term to the

February 13, 2006 trial term.

       3. That the Magistrate Judge conduct a pretrial conference prior to the February 13,

2006 trial term.

       DONE this 3rd day of November, 2005.




                                                    /s/ Mark E. Fuller
                                           CHIEF UNITED STATES DISTRICT JUDGE




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